
Gildersleeve, J.
— The action is brought to recover damages lor a breach of promise to marry. The plaintiff is an infant under the age of twenty-one, and sues by her guardian ad litem. The defendant makes a motion for an order compelling plaintiff to give security for costs, on the ground that she is ail infant whose guardian ad litem has not given such security. See Code, § 3268, subd. 5. At the same time, the plaintiff makes a motion, under section 458 of the Code, for leave to sue as a poor person. There can be no question that section 458 of the Code, providing that “a poor person, not being of ability to sue, may apply, by petition, to the court for leave to prosecute as a poor person,” applies to infants as well as adults. See Tobias v. B. &amp; S. A. Railroad Co., 39 St. Rep. 183; Harris v. Mut. L. Insurance Co., 10 N. Y. Supp. 474. As it is in the discretion of the court to allow an action to be prosecuted in forma pauperis, an infant plaintiff, suing by her guardian ad Hierre, may be permitted to sue in such form, in spite of the provisions of subdivision 5, § 3268, of the Code, to the effect that defendant in such case may require security for costs. See Harris v. Insurance Co., supra. These two motions are made at the same time, and the facts necessary to justify each of the orders asked for are shown. In such case it seems to me that the motion for leave to prosecute in forma pauperis should be granted, and the motion for security tor costs should be denied. See Hotaling v. McKenzie, 7 Civ. Proc. R. 320. Ho costs of motion.
Ordered accordingly.
